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                               APPENDIX
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                                             Code-
                                  Multiple                                                                                                                           Privilege
    No.           Bates                      Named                  From             To                  CC                   Privilege Log Description
                                 Clawbacks 1                                                                                                                         Assertion 2
                                             Project

              GOOG-DOJ-                                                                                                  Email demonstrating legal advice of
      1                                X           X                                                     NA                                                             AC
               12766025                                                                                                  counsel regarding regulatory issues.

              GOOG-DOJ-                                                                                               Draft notes seeking legal advice of counsel
      2                                                                              NA                  NA                                                             AC
               15231660                                                                                                        regarding regulatory issues.
                                                                                                                      Draft document containing legal advice of
            GOOG-DOJ-AT-
      3                                                                              NA                  NA                             ESQ regarding contract          AC
              00029680
                                                                                                                                          terms.
                                                                                                                      Email seeking and containing legal advice
            GOOG-DOJ-AT-
      4                                                                                                  NA           of Ted Lazarus ESQ regarding regulatory           AC
              01019463
                                                                                                                                         issues.
                                                                                                                      Information compiled in order to ballpark
                                                                                                                      the financial cost of a potential remedy in
                                                                                                                             response to active government
                                                                                                                      investigations, prepared at the direction of
                                                                                                                       Ted Lazarus, ESQ and in anticipation of
                                                                                                                         litigation. The compiled information,
      5     GOOG-DOJ-AT-                                                                                              which did not exist in the ordinary course
                                                   X                                 NA                  NA                                                             WP
              01106088                                                                                                   of business and would not have been
                                                                                                                        compiled but for the active government
                                                                                                                       investigations and anticipated litigation,
                                                                                                                       reflects the opinion work product of Ted
                                                                                                                       Lazarus, ESQ and                     , ESQ
                                                                                                                        because it reveals legal strategy and the
                                                                                                                                  nature of the remedy.




1
    All of the documents in the Appendix have been clawed back at least once.
2
    “AC” indicates attorney-client privilege. “WP” indicates work product.
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                                 Code-
                      Multiple                                                                                                                            Privilege
No.       Bates                  Named             From                To                  CC                  Privilege Log Description
                     Clawbacks 1                                                                                                                          Assertion 2
                                 Project
                                                                                                            Document and draft correspondence
                                                                                                          seeking and reflecting legal advice and
      GOOG-DOJ-AT-                                                                                     opinion work product of Ted Lazarus ESQ
6                                   X                                  NA                  NA                                                              AC, WP
        01106174                                                                                        regarding potential remedy in response to
                                                                                                       active government investigations, prepared
                                                                                                                 in anticipation of litigation.
                                                                                                         Presentation seeking and revealing legal
      GOOG-DOJ-AT-
7                                                                      NA                  NA          advice of                       ESQ regarding         AC
        01139556
                                                                                                           legal aspects of product development.
                                                                                                       Email gathering information to assess cost
                                                                                                            of proposed remedy to resolve active
                                                                                                        government investigations, undertaken in
      GOOG-DOJ-AT-                                                                                          anticipation of litigation. This email
8                                   X                                                                                                                        WP
        01498627                                                                                         reveals the underlying legal strategy and
                                                                                                       opinion work product of Ted Lazarus, ESQ
                                                                                                       and                     , ESQ in that it reveals
                                                                                                         the nature of the remedy being assessed.
                                                                                                          Email discussing potential remedy and
                                           google docs <comments-                                      reflecting opinion work product of counsel
      GOOG-DOJ-AT-
9                                   X      noreply@docs.google.co                          NA               in response to an active government            AC, WP
        01514569
                                                     m>                                                  investigation by the French Competition
                                                                                                        Authority and in anticipation of litigation.
                                                 <comments-                                            Email seeking and containing legal advice
      GOOG-DOJ-AT-
10                                         noreply@docs.google.co                          NA          of Ted Lazarus ESQ regarding compliance               AC
        01692081
                                                    m>                                                             with competition laws.
                                                                                                        Email chain regarding potential remedy in
                                                                                                               response to active government
      GOOG-DOJ-AT-                                                                                          investigations and in anticipation of
11                                  X                                                                                                                      AC, WP
        01887780                                                                                        litigation, reflecting opinion work product
                                                                                                           of Kent Walker ESQ and Ted Lazarus
                                                                                                        ESQ, prepared in anticipation of litigation.


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                                 Code-
                      Multiple                                                                                                                         Privilege
No.       Bates                  Named             From                To                  CC                   Privilege Log Description
                     Clawbacks 1                                                                                                                       Assertion 2
                                 Project
                                                                                                            Email reflecting comments on draft
                                                                                                         presentation regarding remedy to resolve
                                                                                                             active government investigations,
                                                                                                        undertaken at the direction of Ted Lazarus,
                                                                                                        ESQ and in anticipation of litigation. This
                                                 <comments-
      GOOG-DOJ-AT-                                                                                      email reveals opinion work product of Ted
12                                  X      noreply@docs.google.co                          NA                                                             WP
        01895607                                                                                         Lazarus, ESQ and                      , ESQ
                                                    m>
                                                                                                           in that it reveals legal strategy and the
                                                                                                          nature of the remedy, which would not
                                                                                                        have been considered but for the existence
                                                                                                         of active government investigations and
                                                                                                                     anticipated litigation.
                                                                                                            Document revealing legal advice of
      GOOG-DOJ-AT-
13                                  X                                  NA                  NA            counsel regarding settlement negotiation         AC
        01914586
                                                                                                                           with FCA.
                                                                                                           Presentation reflecting and containing
                                                                                                          opinion work product of and reflecting
                                                                                                         legal strategy and advice of Ted Lazarus
      GOOG-DOJ-AT-
14                                  X                                  NA                  NA            ESQ and                       ESQ regarding    AC; WP
        02099758
                                                                                                            potential remedies to resolve active
                                                                                                          government investigations, prepared in
                                                                                                                  anticipation of litigation.


                                                                                                              Email reflecting remedy project
      GOOG-DOJ-AT-                                                                                           undertaken in response to active
15                       X          X                                                      NA                                                           AC, WP
        00660900                                                                                             government investigations and in
                                                                                                                anticipation of litigation.




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                                 Code-
                      Multiple                                                                                                                         Privilege
No.       Bates                  Named           From                  To                  CC                  Privilege Log Description
                     Clawbacks 1                                                                                                                       Assertion 2
                                 Project

                                                                                                         Email revealing legal advice and opinion
                                                                                                         work product of competition counsel and
      GOOG-DOJ-AT-
16                                                                                         NA               project undertaken in anticipation of       AC, WP
        00205841
                                                                                                       litigation, in response to active government
                                                                                                                        investigations.




                                                                                                             Employee performance evaluation
                                                                                                         reflecting remedy projects undertaken in
      GOOG-DOJ-AT-
17                       X          X                                  NA                  NA                  response to active government              WP
        00030150
                                                                                                            investigations and in anticipation of
                                                                                                                         litigation.


                                                                                                             Email reflecting remedy project
      GOOG-DOJ-AT-                                                                                          undertaken in response to active
18                       X          X                                                      NA                                                           AC, WP
        00660895                                                                                            government investigations and in
                                                                                                               anticipation of litigation.


                                                                                                          Portions of email revealing advice of
                                                                                                            competition counsel and project
      GOOG-DOJ-AT-
19                       X          X                                                                   undertaken in anticipation of litigation, in    AC, WP
        01007207
                                                                                                             response to active government
                                                                                                                     investigations.


                                                                                                         Email revealing legal advice of counsel
      GOOG-DOJ-AT-
20                       X          X                                                      NA              regarding legal aspects of product             AC
        01687296
                                                                                                                     development.

                                                                        A-4
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                              Code-
                   Multiple                                                                                                                       Privilege
No.     Bates                 Named           From                  To                  CC                  Privilege Log Description
                  Clawbacks 1                                                                                                                     Assertion 2
                              Project
      GOOG-DOJ-                                                                                      Email discussion revealing legal advice of
21                    X                                                                                                                              AC
       06588656                                                                                       counsel regarding product development.




                                                                     A-5
